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            WKH6HWWOHPHQW$JUHHPHQWRQWKHWHUPVDQGFRQGLWLRQVVHWIRUWKWKHUHLQ

         7KHReorganized Debtor’s Request for Partial Allowance and Partial Disallowance of the

            Claim by the Montana Dept. of Env. Quality (“MDEQ”) for Environmental Remediation

            at Operable Unit 3 of the Libby Asbestos Superfund Site (Substantive Objection) WKH

            6WDWH¶VResponse and Reservation of Rights of the State of Montana to the Reorganized

            Debtor’s Request for Partial Allowance and Partial Disallowance of the Claim by the

            Montana Dept. of Env. Quality for Environmental Remediation at Operable Unit 3 of the

            Libby Asbestos Superfund Site (Substantive Objection) >'RFNHW 1R @ DQG WKH

            5HRUJDQL]HG 'HEWRU¶V Reply in Support of the Reorganized Debtor’s Claim Objection


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            Requesting Partial Allowance and Partial Disallowance of MDEQ Prepetition Claim

            (Substantive Objection)>'RFNHW1R@DUHGLVPLVVHGDVPRRW

         7KHPHGLDWLRQVFKHGXOHGLQWKHStipulation and Agreed Order re Mediation of Contested

            Matter re Claim No. 18496-1>'RFNHW1R@DVVXSSOHPHQWHGE\WKHJoint Stipulation

            and Agreed Order Selecting Mediator in Contested Matter re Claim No. 18496-1>'RFNHW

            1R@DQGDVDPHQGHGE\WKHAmendment to the Stipulation and Agreed Order re

            Mediation of Contested Matter re Claim No. 18496-1 >'RFNHW 1R @ KDV EHHQ

            FRPSOHWHG

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